Cas"e 1:05-cv-01069-.]DT-STA Document 19 Filed 07/18/05 Page 1 of 3 PagelD 13

lN THE UN|TED STATES D|STR|CT COURT FOR THE L&éz’

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WiLL|Al\/l VADEN, VADEN FAR|V|S, lNC.,
lVlARY LEE VADEN by W|LL|A|V| VADEN as .
POWER OF ATTORNEY and JERRY VADEN :

 

Plaintiffs,

vs. § No. 1-05-1069-r An

BETSY WADDELL,

UN|ON PLANTERS BANK, N.A.,

UNION PLANTERS |NSURANCE AGENCY,
|NC., and FIREN|AN'S FUND
AGR|BUS|NESS, |NC.

Defendants.

 

ORDER OF D|S|VIISSAL WITH PREJUDlCE

 

This cause came onto be heard upon the motion ofthe Plaintiffs in this cause, and

lt appearing to the Court that this matter has been resolved and should be
dismissedl

lT lS, THEREFORE, ORDERED, ADJUDGED AND DECREED by the Court that
the Compiaint in this cause be and the same is hereby dismissed With the costs of this
cause being assessed against theJRefendants.

/
SO ORDERED this the § day o _ ,2005.

Chwaa@M

u.s. Di€§]/Ric"r JuDoE

This document entered on the docket sheet in compliance
with Rule 58 and,-'or_'!S {a) FHCP on '

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Case 1:05-cv-01069-.]DT-STA Document 19 Filed 07/18/05 Page 2 013 PagelD 14

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Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
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Honorable J ames Todd
US DISTRICT COURT

